Case 2:04-cr-00786-WJM               Document 173                        Filed 06/19/09                    Page 1 of 2 PageID: 551




                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

                          M A R T IN L U T H E R K IN G JR . FE D E R A L B L D G . & U . S. C O U R T H O U SE
                                              50 W A L N U T ST R E E T , P. O . B O X 419
                                                    N E W A R K , N J 07101-0419
                                                          (973) 645-6340

WILLIAM J. MARTINI
      JUDGE


                                               LETTER OPINION


                                                                                        June 19, 2009

Kevin M. O’Dowd
Office of the U.S. Attorney
970 Broad Street
Room 502
Newark, NJ 07102

Brandon Monchamp
7802 N. Central Ave
Phoenix, AZ 85020
(Defendant pro se)

       Re:       United States v. Mantovani et al.
                 Crim. No. 04-786-3 (WJM)

Dear Litigant:

       This matter comes before the Court on pro se Defendant Brandon L. Monchamp’s
motion for termination of supervised release. For the following reasons, Defendant’s
request is DENIED.

                                                  BACKGROUND

       Defendant pled guilty to a conspiracy to defraud the United States under 18 U.S.C.
§ 371. The Court sentenced him to 25 months incarceration, followed by three years of
supervised release. Defendant’s incarceration commenced on or about October 9, 2006
and Defendant filed the present motion on April 29, 2009.
Case 2:04-cr-00786-WJM        Document 173       Filed 06/19/09    Page 2 of 2 PageID: 552




                                      DISCUSSION

       District courts possess wide discretion to grant early termination of supervised
release. Under 18 U.S.C. § 3583, a district court may terminate a term of supervised
release “at any time after the expiration of one year of supervised release, pursuant to the
provisions of the Federal Rules of Criminal Procedure relating to the modification of
probation, if it is satisfied that such action is warranted by the conduct of the defendant
released and the interest of justice.” 18 U.S.C. § 3583(e). Early termination is only
warranted in “ in cases where the defendant demonstrates changed circumstances, such as
exceptionally good behavior.” United States v. Caruso, 241 F. Supp. 2d 466, 468 (D.N.J.
2003) (citing United States v. Lussier, 104 F.3d 32 (2d Cir. 1997)).

        The thrust of Defendant’s argument is that the Court should terminate his
supervised release, because he has complied with the requirements of his sentence. While
in prison, Defendant enrolled-in and completed a nine month drug abuse program and
took a variety of classes. Since being released, he has not received any write-ups or
warnings and has not tested positive for drugs.

        As an initial matter, Defendant’s supporting papers do not inform the Court of his
release date. Lacking guidance to the contrary, the Court assumes that Defendant served
a full 25 month sentence and was released on or about November 2008. At the time of
filing of this motion, Defendant had not served a full year of supervised relief.
Accordingly, the Court lacks authority under § 3583(e) to grant Defendant the requested
relief.

        Assuming arguendo that Defendant served more than one year of supervised
release, Defendant’s request is still denied. While the conduct of Defendant is
commendable, “merely complying with the terms of . . . probation and abiding by the law
are not in and of themselves sufficient to warrant early termination of probation; rather,
this is simply what is expected of Defendant.” United States v. Paterno, Cr. No. 99-037,
2002 WL 1065682, at *3 (D.N.J. Apr. 30, 2002). Defendant fails to demonstrate any
changed circumstances or exceptionally good behavior warranting early termination.

                                     CONCLUSION

       For the foregoing reasons, Defendant’s motion for termination of supervised
release is DENIED. An appropriate Order accompanies this Letter Opinion.


                                                  s/William J. Martini
                                                  William J. Martini, U.S.D.J.


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